Case 18-57254-jwc        Doc 19     Filed 06/12/18 Entered 06/12/18 15:51:02           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   IN RE:

   ADDIA MONIQUE WEBB                             :      CHAPTER 13
                                                  :
                   Debtor.                        :      CASE NO.: 18-57254-JWC

                 CERTIFICATE OF MANNER OF SERVICE PURSUANT TO
                             BANKRUPTCY RULE 7004

            This is to certify that I have this day served a copy of the Initial Chapter 13 Plan
   filed in the above styled case on May 14, 2018 (Doc. No. 13) by depositing same in the
   United States mail with the adequate postage affixed thereto to insure delivery addressed
   as follows:


   GM Financial
   801 Cherry Street Ste 3500
   Fort Worth, TX 76102


   CSC of Cobb County Inc (Registered Agent GM Financial)
   192 Anderson Street SE, Suite 125
   Marietta, G 30060


   DATED: June 12, 2018
   _____/s_____________
   Howard P. Slomka
   Georgia Bar #652875
   Attorney for the Debtor
   Slipakoff & Slomka, PC
   2859 Paces Ferry Rd, SE Suite 1700
   Atlanta, GA 30339
